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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

REPUBLICAN NATIONAL COMMITTEE;
DONALD J. TRUMP FOR PRESIDENT 2024,
INC.; MICHIGAN REPUBLICAN PARTY; and
                                                          CIVIL ACTION
RYAN KIDD, in his official capacity as Clerk of
Georgetown Township,
                                                          Case No. 1:24-cv-720-PLM-SJB
                       Plaintiffs,
       v.
                                                          Hon. Paul L. Maloney
GRETCHEN WHITMER, in her official capacity                Hon. Sally J. Berens
as Governor of Michigan; JOCELYN BENSON, in
her official capacity as Michigan Secretary of State;     VET VOICE FOUNDATION’S
JONATHAN BRATER, in his official capacity as              MOTION TO INTERVENE
Director of the Michigan Bureau of Elections; U.S.
SMALL         BUSINESS        ADMINISTRATION;
ISABEL GUZMAN, in her official capacity as                ORAL ARGUMENT REQUESTED
Administrator       of    the     Small    Business
Administration; DEPARTMENT OF VETERANS
AFFAIRS; and DENIS McDONOUGH, in his
official capacity as Secretary of Veterans Affairs

                       Defendants.



       Proposed Intervenor-Defendant Vet Voice Foundation (“Vet Voice”) seeks to intervene as

defendant in the above-captioned lawsuit to safeguard its and its subscribers and constituents’

substantial and distinct legal interests, which will otherwise be inadequately represented. For the

reasons discussed in the memorandum in support, filed herewith, Vet Voice is entitled to intervene

in this case as a matter of right under Federal Rule of Civil Procedure 24(a)(2). In the alternative,

Vet Voice requests permissive intervention under Rule 24(b). In compliance with Rule 24(c), Vet

Voice has filed a proposed Motion to Dismiss as Exhibit A to this motion.

       Vet Voice respectfully requests that the Court set a schedule regarding this motion to

intervene that allows for Vet Voice’s participation in any future briefing or hearings. Otherwise,
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Vet Voice’s and its subscribers and constituents’ fundamental rights are at risk of irreparable harm,

as described more fully in the memorandum in support of this motion. At bottom, this lawsuit

directly threatens the voter registration of veterans. Vet Voice is an organization that is dedicated

to serving and enfranchising veterans. It is entitled to intervene in this action to represent their

interests. In the alternative, permissive intervention is appropriate to ensure that these proceedings

are not decided with their critical perspective.

          Pursuant to Local Rule 7.1(d) and Section III(B) of this Court’s Information and Guidelines

for Civil Practice, counsel for Vet Voice conferred with counsel for Plaintiffs and Defendants

about their positions on this motion on July 24, 2024. Plaintiffs oppose intervention. State

Defendants neither concur with nor object to intervention. Federal Defendants indicated that they

would determine their position on intervention after reviewing Vet Voice’s as-filed intervention

papers.

          WHEREFORE, Vet Voice requests that the Court grant it leave to intervene in the above-

captioned matter and to file its proposed motion to dismiss.




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Dated: July 24, 2024.               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on this 24th day of July, 2024, I caused to be served a copy of the above

document on all counsel of record and parties via the ECF system.

                                              /s/ Sarah S. Prescott
                                              Sarah S. Prescott




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

REPUBLICAN NATIONAL COMMITTEE;
DONALD J. TRUMP FOR PRESIDENT 2024,
INC.; MICHIGAN REPUBLICAN PARTY; and
                                                        CIVIL ACTION
RYAN KIDD, in his official capacity as Clerk of
Georgetown Township,
                                                        Case No. 1:24-cv-720-PLM-SJB
                       Plaintiffs,
       v.
                                                        Hon. Paul L. Maloney
GRETCHEN WHITMER, in her official capacity              Hon. Sally J. Berens
as Governor of Michigan; JOCELYN BENSON, in
her official capacity as Michigan Secretary of State;
JONATHAN BRATER, in his official capacity as
Director of the Michigan Bureau of Elections; U.S.
SMALL         BUSINESS        ADMINISTRATION;
ISABEL GUZMAN, in her official capacity as
Administrator       of    the     Small    Business
Administration; DEPARTMENT OF VETERANS
AFFAIRS; and DENIS McDONOUGH, in his
official capacity as Secretary of Veterans Affairs,

                       Defendants.



                      VET VOICE FOUNDATION’S
             MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE

                              ORAL ARGUMENT REQUESTED
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                                        INTRODUCTION

        This case aims to make it harder for veterans to register to vote just months before a

presidential election. Accordingly, the justification for this motion to intervene is straightforward

and uncontestable: veterans deserve a voice in how the case is resolved. Since 2023, Michigan has

designated offices of the Department of Veterans Affairs (“VA”) as “voter registration agencies”

under the National Voter Registration Act (“NVRA”). In practice, that means anyone who applies

for assistance at a VA office must be offered the opportunity to register to vote there. Because VA

offices overwhelmingly serve veterans, so, too, does their designation as registration agencies—

veterans now have an easy way to register at a location they were likely to visit for other purposes.

        Plaintiffs inexplicably aim to end this arrangement. But their case is meritless: as explained

in the Proposed Motion to Dismiss filed herewith, Ex. A, Plaintiffs lack a coherent theory of

standing; the court lacks subject-matter jurisdiction over the state-law claim at the heart of

Plaintiffs’ case; and each of their three counts is subject to dismissal under Rule 12(b)(6). More

importantly for present purposes, none of the Plaintiffs can claim to speak for veterans. Nor can

any of the Defendants, all of whom are government officers or agencies with an array of official

obligations. But Proposed Intervenor Vet Voice Foundation (“Vet Voice”) can speak for

veterans—that is why Vet Voice was founded, and that is what it does every single day. And this

case threatens its substantial interests, including its ongoing effort to turn out as many veteran and

active-duty military voters in Michigan as possible. To protect its interests, Vet Voice is entitled

to intervene as of right under Rule 24(a)(2). Alternatively, Vet Voice respectfully requests that it

be granted permissive intervention under Rule 24(b) to ensure that veterans are not deprived of a

voice in this case.




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                                        BACKGROUND

I.     Voter Registration Agencies under the NVRA and Michigan Law

       The NVRA is a federal law that requires states to provide simplified, voter-friendly systems

for registering to vote. In enacting the NVRA, Congress aimed to increase access to the franchise

by establishing “procedures that will increase the number of eligible citizens who register to vote

in elections for Federal office” and by making it “possible for Federal, State, and local

governments to implement [the NVRA] in a manner that enhances the participation of eligible

citizens as voters in elections for Federal office.” 52 U.S.C. § 20501(b)(1)–(2).

       To further its pro-voter purposes, the NVRA requires states to designate state government

offices that provide public assistance or disability services as voter registration agencies. Id.

§ 20506(a)(2). All designated offices in a state must offer the opportunity to register to vote with

each application for service or assistance. Id. § 20506(a)(6). For instance, each person who applies

for Medicaid at an office of the Michigan Department of Human Services must be offered the

opportunity to register to vote.

       The NVRA further requires that, “in addition to,” the above state offices, a state must

designate “other offices within the State as voter registration agencies.” Id. § 20506(a)(3)(A).

Those offices “may include” “[s]tate or local government offices” and “[f]ederal and

nongovernmental offices, with the agreement of such offices.” Id. § 20506(a)(3)(B). Federal

agencies, in turn, are charged “to the greatest extent practicable” to “cooperate with the States in

carrying out” the NVRA’s mandate to designate voter registration agencies. Id. § 20506(b).

       Shortly after the NVRA’s 1994 enactment, the Michigan legislature enacted MCL

§ 168.509u, which delegates to the governor the authority to prepare a list of “the executive

departments, state agencies, or other offices that will perform voter registration activities in this

state.” Then-Governor Engler subsequently issued Executive Order 1995-1, designating various

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public-assistance offices as voter registration agencies and reserving the right to so designate

“[a]ny other public office . . . by Executive Directive.”

       In May 2022, Governor Whitmer issued Executive Directive 2022-4, which noted that in

the nearly three decades since Governor Engler’s original designation, Michigan had witnessed

“myriad changes to public assistance programs and programs that provide services to persons with

disabilities, as well as to the offices that accept applications for and administer these programs.”

Yet no update to Michigan’s NVRA designations had accompanied those changes. Accordingly,

Governor Whitmer ordered a detailed examination of which Michigan offices should be designated

registration agencies under the NVRA. In December 2023, Governor Whitmer acted on the results

of the 2022 study by issuing Executive Directive 2023-6, which designated eight Michigan

agencies voter registration agencies. In addition, and as is most relevant here, ED 2023-6 also

designated the VA as a Michigan voter registration agency pursuant to an agreement between

Michigan and the VA. Finally, in June 2024, Governor Whitmer issued Executive Directive 2024-

3, designating the Small Business Administration as a registration agency.

II.    Proposed Intervenor

       Vet Voice Foundation is a nonpartisan nonprofit organization organized under section

501(c)(3) of the Internal Revenue Code. Ex. B, Decl. of Janessa Goldbeck ¶ 4 (“Goldbeck Decl.”).

Vet Voice’s mission is to empower veterans across the country to become civic leaders and policy

advocates. Id. ¶ 7. In particular, Vet Voice educates veterans on issues such as voting rights,

disinformation, environmental protection, health care, and jobs. Id. Vet Voice has over 1.5 million

subscribers across the country and nearly 127,000 in Michigan. Id. ¶¶ 5, 6. All its subscribers take

affirmative steps to receive communications from Vet Voice. Id.

       Increasing voter turnout among its subscribers, and among veterans and active-duty

military voters more generally, is central to Vet Voice’s mission: by turning out such voters, Vet

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Voice builds its constituency’s political power. Id. ¶ 9. To support its voter turnout work, Vet

Voice has built a first-of-its-kind military voter file—comprising veterans, activity-duty military,

and family—which includes over 357,000 Michigan voters. Id. ¶ 11. Vet Voice targets those voters

through its communications to ensure they are registered, informed about the issues, and turn out

to vote. Id. ¶¶ 12–13. This program is highly effective: For lower-propensity voters, engagement

by a Vet Voice volunteer makes it three times more likely that the voter will turn out to vote. Id.

¶ 12. Vet Voice plans to target approximately 70,000 Michigan voters as part of its 2024

mobilization effort. Id. ¶ 14.

       Voter registration is fundamental to Vet Voice’s work. It cannot effectively educate and

turn out Michiganders who are not registered because registration is a prerequisite to voting in

Michigan. Id. ¶ 16. And voter registration at VA offices is an invaluable tool for Vet Voice, its

subscribers, and its wider constituency of military and veteran voters. Id. ¶ 18. Most veterans

interact with the VA frequently, as do many active-duty servicemembers. Id. Michigan’s decision

to offer voter registration at VA offices therefore gives veterans, their families, and many active-

duty servicemembers an easy and convenient option for registering to vote or updating a voter

registration. Id. And that option is particularly important for the many veterans who have service-

connected disabilities—30 percent of all veterans and 46 percent of post-September 11 veterans.

Id. ¶ 19. Such veterans generally visit VA facilities frequently and may face physical or other

barriers to registration. Id. The option to register at VA offices therefore makes the franchise much

more accessible for such veterans. Id.

                                          ARGUMENT

I.     Vet Voice is entitled to intervene as of right.

       “Under Federal Rule of Civil Procedure 24(a)(2), district courts must permit anyone to

intervene who, (1) in a timely motion, shows that (2) they have a substantial legal interest in the

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case, (3) their absence from the case would impair that interest, and (4) their interest is inadequately

represented by the parties.” Wineries of the Old Mission Peninsula Ass’n v. Township of Peninsula,

41 F.4th 767, 771 (6th Cir. 2022) (“Wineries”) (citation omitted). The Sixth Circuit instructs that

“Rule 24 should be ‘broadly construed in favor of potential intervenors.’” Stupak-Thrall v.

Glickman, 226 F.3d 467, 472 (6th Cir. 2000) (quoting Purnell v. City of Akron, 925 F.2d 941, 950

(6th Cir. 1991)). In election law cases, this is doubly true, “and for good reason—the right to vote

‘is regarded as a fundamental political right, because [it is] preservative of all rights.’” Serv. Emps.

Int’l Union Loc. 1 v. Husted, 515 F. App’x 539, 543 (6th Cir. 2013) (per curiam) (quoting Yick Wo

v. Hopkins, 118 U.S. 356, 370 (1886)).

        A.      The motion to intervene is timely.

        This motion is indisputably timely: It comes mere days after this suit was filed and before

any substantive activity has occurred in the case. See Priorities USA v. Benson, 448 F. Supp. 3d

755, 763 (E.D. Mich. 2020) (suggesting that it would be “difficult to imagine a more timely

intervention” than one filed within a few weeks of the complaint). Vet Voice seeks intervention to

safeguard its and its subscribers and constituents’ fundamental rights: a “legitimate” purpose,

rendering the motion “timely in light of the stated purpose for intervening.” Kirsch v. Dean, 733

F.App’x 268, 275 (6th Cir. 2018). And intervention will inflict no prejudice on the other parties:

Vet Voice is prepared to follow any briefing schedule the Court sets and to participate in any future

hearings or oral arguments, without delay.

        B.      Plaintiffs’ claims threaten to impair the substantial interests of Vet Voice and
                its constituents.

        This case threatens Vet Voice’s and its subscribers and constituents’ substantial interests.

The Sixth Circuit describes the requirement of an impaired interest as “rather expansive,” Mich.

State AFL–CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997), and one that “is to be construed


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liberally,” Bradley v. Milliken, 828 F.2d 1186, 1192 (6th Cir. 1987). Thus, an intervenor need not

have the standing necessary to initiate a lawsuit, nor must an intervenor identify a “specific legal

or equitable interest.” Mich. State AFL–CIO, 103 F.3d at 1245 (quoting Purnell, 925 F.2d at 948).

Rather, the intervenor’s burden of establishing impairment of a protectable interest is “minimal,”

id. at 1247, and the alleged impairment need only be possible, not certain, see Purnell, 925 F.2d

at 948, with “close cases” resolved “in favor of recognizing an interest under Rule 24(a),” Mich.

State AFL-CIO, 103 F.3d at 1247.

       Vet Voice has three interests which this lawsuit threatens to impair.

       First, Vet Voice’s mission is to mobilize as many Michigan veterans and military voters

as possible. Goldbeck Decl. ¶¶ 9–14. The relief Plaintiffs seek would deprive veterans of the option

to register to vote in a convenient manner at VA offices they are likely to frequent for other reasons.

Id. ¶¶ 18–19. Such relief would necessarily harm Vet Voice’s ability to achieve its mission—it

would decrease the number of registered veterans in Michigan and increase the barriers to

registering voters going forward. Id. ¶ 20. Both effects would, in turn, decrease the degree to which

Vet Voice is able to mobilize veterans to vote. Id. ¶ 21. Such an injury to mission has been held to

constitute irreparable harm for purposes of a preliminary injunction, E. Bay Sanctuary Covenant

v. Garland, 994 F.3d 962, 984 (9th Cir. 2020)—a higher showing than is required for intervention.

       Second, Vet Voice also has a substantial representative interest at stake: ensuring that its

subscribers—and Michigan’s veterans and military voters more generally—are able to register to

vote. Goldbeck Decl. ¶ 21. A derivative interest in protecting members or constituents’ access to

the franchise is a well-established basis for intervention in NVRA litigation. See, e.g., Bellitto v.

Snipes, No. 16-cv-61474, 2016 WL 5118568 (S.D. Fla. Sept. 21, 2016) (“Bellitto I”) (granting

organization intervention of right); Op. & Order, Judicial Watch, Inc. v. Ill. State Bd. of Elections,



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No. 24-cv-1867 (N.D. Ill. July 18, 2024), ECF No. 52 (same); see also Pub. Int. Legal Found.,

Inc. v. Winfrey, 463 F. Supp. 3d 795, 799 (E.D. Mich. 2020) (granting organization permissive

intervention); Order Granting Mot. to Intervene, Daunt v. Benson, No. 1:20-cv-522 (W.D. Mich.

Sept. 28, 2020), ECF No. 30 (same); Order Granting Mot. to Intervene, Voter Integrity Project

NC, Inc. v. Wake Cnty. Bd. of Elections, No. 5:16-cv-683 (E.D.N.C. Dec. 1, 2016), ECF No. 26

(granting voters permissive intervention). In Bellitto I, for example, the district court permitted a

union with many members in Florida to intervene because “the interests of its members would be

threatened by [any] court-ordered ‘voter list maintenance’ sought by Plaintiffs,” a “potential harm”

the court found “particularly great in light of the upcoming 2016 General Election.” Bellitto I,

2016 WL 5118568, at *2. And just last week, in Judicial Watch, the district court granted two

unions intervention as of right to oppose the purging of Illinois’s voter rolls, explaining that all

“Rule 24 requires is that Proposed Intervenors identify an interest that a favorable result for

Plaintiffs would damage.” Judicial Watch, No. 1:24-cv-1867, slip op. at *8.

       Similarly, here, Vet Voice seeks to intervene because its subscribers and constituents will

be harmed by elimination of a valuable avenue for voter registration just months before a general

election. The Sixth Circuit has held that an organization’s interest in preserving its members’

access to the franchise creates Article III standing—again, a higher burden than that required to

intervene as of right. See Am. C.L. Union of Ohio, Inc. v. Taft, 385 F.3d 641, 646 (6th Cir. 2004)

(holding that organization had standing where its members were “threatened with the imminent

denial of their right to vote” and where preserving that right was “germane to the organization’s

purpose”).

       Third, Vet Voice will be forced to divert its scarce resources if Plaintiffs obtain the relief

they seek. Goldbeck Decl. ¶ 21. Veterans who do not register at VA offices will have to register



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somewhere else for Vet Voice to effectively mobilize them. And Vet Voice will need to devote

additional resources to ensuring that they do—resources that could otherwise be directed toward

Vet Voice’s turnout efforts and issue advocacy. Id. As with the above interests, an organization’s

interest in avoiding impairment of its mission due to a need to divert resources satisfies the higher

burden required for standing. See, e.g., Mia. Valley Fair Hous. Ctr. v. Metro Dev. LLC, No. 2:16-

cv-607, 2018 WL 1229841, at *3 (S.D. Ohio Mar. 7, 2018); E. Bay Sanctuary Covenant v. Biden,

993 F.3d 640, 663 (9th Cir. 2021) (“[A]n organization has direct standing to sue where it

establishes that the defendant’s behavior has frustrated its mission and caused it to divert resources

in response to that frustration of purpose.”). That interest therefore more than suffices to make the

minimal showing required here.

       C.      The existing parties may not adequately represent Vet Voice’s interests.

       Vet Voice will not be assured adequate representation in this matter if it is denied

intervention. “Rule 24(a) is satisfied if the applicant shows that representation of his interest ‘may

be’ inadequate; and the burden of making that showing should be treated as minimal.” Wineries,

41 F.4th at 774 (alteration accepted) (emphasis added by Sixth Circuit) (quoting Trbovich v. United

Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972)). “One is not required to show that the

representation will in fact be inadequate.” Mich. State AFL-CIO, 103 F.3d at 1247. Accordingly,

courts are “liberal in finding” this requirement to be met because “there is good reason in most

cases to suppose that the applicant is the best judge of the representation of the applicant’s own

interests.” 7C Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 1909 (3d

ed. 2024).

       Here, neither Plaintiffs nor Defendants are assured to adequately represent Vet Voice’s

interests. Just months before a federal election, Plaintiffs seek to eliminate veterans’ option to

register to vote at VA facilities. Vet Voice strongly opposes that result, which is directly contrary

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to its interests. As to Defendants, although they are likely to oppose relief, it does not follow that

they adequately represent Vet Voice’s interests. To the contrary, in another NVRA case, “[t]he

Sixth Circuit has recognized that the interests of election officials” are “sufficiently distinct from

those of . . . their constituents to warrant intervention by those who could be impacted” by the

relief sought. Winfrey, 463 F. Supp. 3d at 799 (citing League of Women Voters of Mich. v. Johnson,

902 F.3d 572, 579 (6th Cir. 2018)). As the state officials who administer Michigan’s elections,

Secretary Benson and Director Brater are charged with “protecting electoral integrity.” Bellitto v.

Snipes, 935 F.3d 1192, 1198 (11th Cir. 2019) (“Bellitto II”). In contrast, Vet Voice has “[t]he

mission and interest . . . explicitly to pursue the second of the expressly recognized interests that

motivated Congress to enact [the NVRA],” Winfrey, 463 F. Supp. 3d at 801, i.e., to eliminate

“barriers to registration and voting,” Bellitto II, 935 F.3d at 1198. Because this goal “naturally

create[s] some tension” with Defendants’ administrative obligations, id., Defendants’

representation of Vet Voice cannot be presumed to be adequate. See also Judicial Watch, No. 1:24-

cv-01867, slip op. at *9 (“The State Board’s execution of its duties may be in tension with

Proposed Intervenors’ interests.”).

        Just two terms ago, the Supreme Court made clear that state executive officers will not

often be adequate representatives for partisan or private actors who seek to intervene under Rule

24. See Berger v. N.C. State Conf. of the NAACP, 597 U.S. 179, 194–97 (2022). In Berger, the

Supreme Court reiterated its longstanding instruction that even when state agents pursue “related”

interests to political actors, those interests are not properly considered “identical.” Id. at 2204

(quoting Trbovich, 404 U.S. at 538–39). The Court then explained that “[w]here ‘the absentee’s

interest is similar to, but not identical with, that of one of the parties,’ that normally is not enough

to trigger a presumption of adequate representation.” Id. (quoting Wright & Miller, supra, § 1909).



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None of the named Defendants’ interests are “identical” to Vet Voice, because none is a nonprofit

veterans advocacy organization.

       Nor can the VA’s representation of Vet Voice be assumed to be adequate just because its

overarching mandate is to provide services to veterans. Part of Vet Voice’s work is to lobby the

VA, hold it to account, and shape its policy. Goldbeck Decl. ¶ 8. Vet Voice represents the veterans

who seek services from the VA; the VA provides those services. As the Supreme Court recognized

over 50 years ago, providing services and representing those seeking services are distinct roles.

Trbovich, 404 U.S. at 538–39 (“Even if the Secretary is performing his duties, broadly conceived,

as well as can be expected, the union member may have a valid complaint about the performance of

‘his lawyer.’”). Just as the Secretary of Labor cannot be assumed always to represent the interests

of each individual union member, the VA cannot be assumed to represent the interests of each

individual veteran. Id.

II.    Alternatively, Vet Voice should be granted permissive intervention.

       Permissive intervention is warranted under Rule 24(b). “Permissive intervention has a less

exacting standard than mandatory intervention and courts are given greater discretion to decide

motions for permissive intervention.” Priorities USA, 448 F. Supp. 3d at 759–60 (citing Grubbs v.

Norris, 870 F.2d 343, 345 (6th Cir. 1989)). “On timely motion, the court may permit anyone to

intervene who . . . has a claim or defense that shares with the main action a common question of

law or fact.” Fed. R. Civ. P. 24(b)(1). “In exercising its discretion, the court must consider whether

the intervention will unduly delay or prejudice the adjudication of the original parties’ rights.” Fed.

R. Civ. P. 24(b)(3). The interest of an intervenor, for the purposes of permissive intervention, needs

only to be “different” from the defendants, regardless of whether it is “substantial.” League of

Women Voters of Mich., 902 F.3d at 579.



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        Vet Voice easily meets these requirements. First, the motion is timely, and intervention

will not unduly delay or prejudice the adjudication of the original parties’ rights. See supra Section

I.B. Second, its interests plainly are different from those of existing litigants. No existing Plaintiff

or Defendant is a nonprofit veterans’ advocacy organization, nor do the existing parties share any

of Vet Voice’s substantive voter education goals or resource-diversion concerns. See supra Section

I.C. And Vet Voice will raise common questions of law in opposing Plaintiffs’ suit—in particular,

whether the relief Plaintiffs seek is available in federal court at all.

        The Court also has good reason to exercise its discretion to grant the motion. Plaintiffs seek

sweeping judicial intervention in Michigan’s voter registration regime in an election year. In

adjudicating Plaintiffs’ claims, the Court will benefit from hearing from the voters, particularly

veterans—the ones who will be most directly affected by the case’s resolution. Each time this

nation goes to the polls, it exercises rights that veterans have sacrificed to uphold. Goldbeck Decl.

¶ 22. Michigan has made the wise choice to make it easier for those who have rendered honorable

service to vote. This Court should exercise its discretion to give them a voice in this litigation.

                                           CONCLUSION

        For the foregoing reasons, Vet Voice respectfully requests that this Court grant its motion

to intervene.




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Dated: July 24, 2024.                Respectfully submitted,

                                     /s/ Sarah S. Prescott
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                                              /s/ Sarah S. Prescott
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                               CERTIFICATE OF SERVICE

       I certify that on this 24th day of July, 2024, I caused to be served a copy of the above

document on all counsel of record and parties via the ECF system.

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